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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES -- GENERAL

Case No.     CV 19-9780-MWF(JEMx)                                    Dated: September 30, 2021

Title:       Richard Smith -v- United Parcel Service, Inc.

PRESENT:     HONORABLE MICHAEL W. FITZGERALD, UNITED STATES DISTRICT JUDGE

             Rita Sanchez                              Not Reported
             Courtroom Deputy                          Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                    ATTORNEYS PRESENT FOR DEFENDANTS:

             Not Present                               Not Present


PROCEEDINGS (IN CHAMBERS):                     COURT ORDER

       In light of the Notice of Settlement [44] filed September 28, 2021, the Court sets a
hearing on Order To Show Cause Re Dismissal for November 29, 2021 at 11:30 a.m. If a
stipulated dismissal is filed prior to this date, the matter will be taken off calendar and no
appearance is needed. All other hearings and deadlines are hereby vacated.




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